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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    MARY SEMANCHIK,                                :
                                                   :
                 Plaintiff,                        :
                                                   :
         v.                                        : CASE NO. 2:20-cv-1287
                                                   :
    MIDLAND FUNDING, LLC,                          :
                                                   :
                 Defendant.                        :
                                                   :
                                                   :


                                      NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that on this date, Midland Funding, LLC hereby removes the

above-captioned matter to this Court from the Court of Common Pleas of Allegheny County,

Pennsylvania and in support thereof avers as follows:

        1.      MF is the defendant in a civil action originally filed on or about April 1, 2020, in

the Court of Common Pleas of Allegheny County, Pennsylvania, titled Mary Semanchik v.

Midland Funding, LLC and docketed to Case No. GD-20-004841.

        2.      This removal is timely under 28 U.S.C. § 1446(b). MF received service of process

by certified mail on July 31, 2020.

        3.      Pursuant to 28 U.S.C. § 1446, attached here as Exhibit A are copies of all process,

pleadings, and orders Defendants received in the state court action.

        4.      The District Court 1 has original jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, in that Plaintiff has filed claims against MF alleging violations of the Fair Debt Collection




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  Although Plaintiff has filed this lawsuit in Allegheny County, thus requiring Defendant to remove
the case to this Court, the face of Plaintiff’s Complaint demonstrates that Plaintiff’s claims arose
                                                  1
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Practices Act, 15 U.S.C. § 1692, et seq. and the Telephone Consumer Protection Act, 47 U.S.C. §

227, et seq.

       5.      On this date, MF has provided notice of this Removal to counsel for Plaintiff and

to the Court of Common Pleas of Allegheny County, Pennsylvania.

       WHEREFORE, Defendant Midland Funding, LLC respectfully removes this case to the

United States District Court for the Western District of Pennsylvania.

                                     Respectfully submitted,

                                     MESSER STRICKLER, LTD.

                              By:    /s/ Lauren M. Burnette
                                     LAUREN M. BURNETTE, ESQUIRE
                                     PA Bar No. 92412
                                     12276 San Jose Blvd.
                                     Suite 718
                                     Jacksonville, FL 32223
                                     (904) 527-1172
                                     (904) 683-7353 (fax)
                                     lburnette@messerstrickler.com
                                     Counsel for Defendant

Dated: August 31, 2020




from conduct that occurred in Luzerne County, which lies within the jurisdiction of the United
States District Court for the Middle District of Pennsylvania.
                                                2
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                              CERTIFICATE OF SERVICE

       I certify that on August 31, 2020, a true copy of the foregoing document was served as

follows:

 Via Email and U.S. Mail, Postage Prepaid        Via Electronic Filing
 Joshua P. Ward                                  Court of Common Pleas
 Kyle H. Steenland                               Allegheny County
 The Rubicon Building                            414 Grant St.
 201 South Highland Avenue                       Pittsburgh, PA 15219
 Suite 201
 Pittsburgh, PA 15206
 jward@fentersward.com
 ksteenland@fentersward.com
 Counsel for Plaintiff




                                   MESSER STRICKLER, LTD.

                            By:    /s/ Lauren M. Burnette
                                   LAUREN M. BURNETTE, ESQUIRE
                                   PA Bar No. 92412
                                   12276 San Jose Blvd.
                                   Suite 718
                                   Jacksonville, FL 32223
                                   (904) 527-1172
                                   (904) 683-7353 (fax)
                                   lburnette@messerstrickler.com
                                   Counsel for Defendant

Dated: August 31, 2020




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